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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

          Plaintiff,

 v.                                                Case No. CR-22-034-RAW

 SEAN PAUL BAKER,

          Defendant.



                                                ORDER

         The Defendant has been charged in this case with the sexual abuse of his step-daughter

D.P. He is specifically charged with two counts of aggravated sexual abuse in Indian Country on

or about February 6, 2015, in violation of 18 U.S.C. §§ 2241(c), 2246(2)(B) and (C), 1151, and

1153 before she had attained the age of 12 years, and one count of sexual abuse of a minor in

Indian Country on or about February 6, 2021, in violation of 18 U.S.C. §§ 2243(a), 2246(2)(D),

1151, and 1153 after she had attained the age of 12 years but before she had attained the age of

16 years.

         Now before the court are the Defendant’s motion to exclude the Government’s proposed

expert testimony [Docket Nos. 52 and 53] and the Government’s response thereto, as well as the

related Defendant’s second motion in limine [Docket No. 55] and the Government’s response

thereto [Docket No. 58]. The Defense moves to preclude expert testimony by Andrea Hamilton

and Dr. Christine Beeson, arguing that the notices are insufficient and the proposed testimony is

inadmissible under Rules 702 and 403. Neither expert has been involved with or reviewed any

treatment of the alleged victim in this case.
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       The Government’s notice of intent to offer expert witness includes Ms. Hamilton’s 7-

page CV and Dr. Beeson’s 13-page CV. The notice itself details the testimony anticipated by

each. Ms. Hamilton is anticipated to testify as to, inter alia, disclosure, delayed disclosure, and

grooming; Dr. Beeson as to, inter alia, the process of SANE exams generally. The court finds

that the notices are sufficient, the testimony is admissible under Rule 702, and the probative

value is not substantially outweighed by the risk of unfair prejudice, confusing the issues, or

misleading the jury.

       In its second motion in limine, the Defense moves to preclude testimony about offender

and victim profiles and characterization of D.P.’s statements as “disclosures,” of Mr. Baker’s

behavior as “grooming,” and of D.P. as a “victim.”

       The Government first states that it does not intend to introduce evidence of specific

offender profiles. It intends to illicit testimony related to: “the effect of an offender being within

the home of a victim; techniques utilized by offenders to gain the trust of a victim; techniques an

offender may use to isolate, coerce, and control the victim; and the effect an offender’s position

of authority, or position within a family, may have on a victim’s ability to disclose.” The

Government argues that this testimony will assist the jury in understanding how an offender

establishes a relationship with a victim and how that relationship may influence the victim’s

ability to disclose sexual abuse. The Government further argues that this testimony is highly

probative, and the Defendant has failed to show any risk of unfair prejudice. The court agrees. *

       With regard to the victim characteristics, the Government correctly points out that the

Tenth Circuit has held that qualified experts may testify in child sexual abuse cases concerning



*
 “Expert testimony on grooming can be admissible to explain the ‘modus operandi of sex
offenders. The methods sex offenders use are not necessarily common knowledge.’” United
States v. Isabella, 918 F.3d 816, 845, n. 26 (10th Cir. 2019) (citing Batton, 602 F.3d at 1202).
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the characteristics of sexually abused children generally and describe the characteristics the

alleged victim exhibits. See United States v. Charley, 189 F.3d 1551, 1264-65 (10th Cir. 1999).

Additionally, courts routinely conclude that such testimony is “beyond the ken of the average

juror.” United States v. Heller, No. 19-cr-00224-PAB, 2019 WL 5101472, at *2 (D. Colo. Oct.

11, 2019); United States v. Perrault, No. 17-02558-MV-1, 2019 WL 1024284, at *4 (D.N.M.

Mar. 4, 2019).

       The Defendant also seeks to exclude use of the terms “disclosure,” “grooming,” and

“victim.” The Government states that these terms will be used sparingly at trial, but correctly

notes that each of these terms is relevant to the field of child sexual abuse. Additionally, the

Defendant has not shown that use of these terms would result in any unfair prejudice.

       The Defendant’s motion to exclude the Government’s proposed expert testimony [Docket

Nos. 52 and 53] and the Defendant’s second motion in limine [Docket No. 55] are DENIED.

       IT IS SO ORDERED this 15th day of November, 2022.


                                              ______________________________________
                                              THE HONORABLE RONALD A. WHITE
                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF OKLAHOMA




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